
TUCKER, Judge,
asked the judges, if the court should be of opinion that the chancellor heard the cause without full evidence, and should send it back without prejudice, ■ the chancellor might make the deposition of C. Pauly, the ground of a bill of review?
CARRINGTON, Judge.
I think he might.
TUCKER, Judge.
Although it appears that Pauly pressed the trial of the cause in the court of chancery, yet the situation of this country gives reason to think he might have hazarded the trial of his cause without the deposition, under an expectation that it would, if necessary, be afterwards received by a bill of review.
*RO ANE, Judge.
I think that upon the liberal principles which prevail with regard to bills of review, such a bill would be allowed upon a deposition thus situated; and therefore I am for admitting it.
CARRINGTON, Judge.
There can be no doubt that a bill of review would be allowed upon a deposition situated like this.
LYONS, President, concurred, and the deposition was read.
PER CUR. Affirm the decree.
